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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

CALVIN ROBINSON and
MENOMENEE ORME,

            Plaintiffs,                           Case No. 20-cv-10502
                                                  Hon. Matthew F. Leitman
v.

KATRINA COLEMAN, et al.,

          Defendants.
__________________________________________________________________/

     ORDER GRANTING PLAINTIFFS’ MOTION TO DISMISS CLAIMS
      AGAINST DEFENDANT GENESEE COUNTY JAIL (ECF No. 17)

       On May 8, 2020, Plaintiffs Calvin Robinson and Menomenee Omre filed an

Amended Complaint in this action in which Plaintiffs “add[ed the] Genesee County

Jail” as a Defendant. (Am. Compl., ECF No. 8, PageID.27.) Plaintiffs have now

filed a motion with the Court to dismiss their claims against the Genesee County

Jail. (See Mot., ECF No. 17.) The Court has reviewed the motion and concludes that

it should be GRANTED. Accordingly, Plaintiffs’ claims in this action against the

Genesee County Jail are DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED.

                                     s/Matthew F. Leitman
                                     MATTHEW F. LEITMAN
                                     UNITED STATES DISTRICT JUDGE
Dated: September 25, 2020


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       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on September 25, 2020, by electronic means and/or
ordinary mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (810) 341-3794




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